Case 5:18-cv-00101-EKD-JCH Document 27 Filed 06/20/19 Page 1 of 6 Pageid#: 56




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                                 Harrisonburg Division


OLIVIA LETELIER,                               )
                                               )
               Plaintiff,                      )
                                               )              Second Amended Complaint
v.                                             )
                                               )
SCOTT HISEY,                                   )
                                               )
And                                            )
                                               )
WAYNE WILBERGER,                               )
                                               )
               Defendants.                     )              Case No.: 5:18-cv-101
                                               )
                                               )
                                               )              Plaintiff Demands Trial by Jury


                              SECOND AMENDED COMPLAINT

       COMES NOW Plaintiff Olivia Letelier, by counsel, and for her Second Amended

Complaint pursuant to Fed R. Civ. P. 15(a)(2), and with the written consent of opposing counsel,

against Defendant Scott Hisey and Defendant Wayne Wilberger for damages in the sum of ONE

MILLION DOLLARS ($1,000,000.00), of which SIX HUNDRED FIFTY THOUSAND

DOLLARS ($650,000.00) represents compensatory damages and THREE HUNDRED FIFTY

THOUSAND DOLLARS ($350,000.00) represents punitive damages, together with the costs,

interests and expenses of this action, and Plaintiff’s reasonable attorneys’ fees, alleges as

follows:

                                 JURISDICTION AND VENUE

       1.      Plaintiff Olivia Letelier brings this action pursuant to 42 U.S.C. § 1983 and

alleges a violation of the Fourth Amendment to the United States Constitution. This Court has
Case 5:18-cv-00101-EKD-JCH Document 27 Filed 06/20/19 Page 2 of 6 Pageid#: 57




jurisdiction over this action pursuant to 28 U.S.C. § 1331 because it arises under the Constitution

and laws of the United States, and, pursuant to 28 U.S.C. § 1343(a)(3) because it seeks to redress

the deprivation, under color of State law, of rights, privileges and immunities secured to Plaintiff

by the Constitution and laws of the United States.

        2.       Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because all or a

substantial part of the events, acts and/or omissions giving rise to Plaintiff’s claim occurred in

this judicial district.

                                               PARTIES

        3.       Plaintiff Olivia Letelier (hereinafter “Plaintiff” or “Mrs. Letelier”) is a citizen and

resident of Virginia.

        4.       Defendant Scott Hisey (hereinafter “Defendant Hisey”) is a citizen and resident of

Virginia.

        5.       Defendant Wayne Wilberger (hereinafter “Defendant Wilberger”) is a citizen and

resident of Virginia.

              COUNT I: UNREASONABLE SEIZURE OF PLAINTIFF’S PERSON IN
              VIOLATION OF THE FOURTH AMENDMENT UNDER 42 U.S.C. § 1983


        6.       Paragraphs 1-5, as set forth above, are re-alleged and incorporated herein by

reference.

        7.       Count I is brought against each Defendant in his individual capacity while serving

as a member of the Sheriff’s Office for the County of Rockingham, Virginia.

        8.       At all times herein, each Defendant was employed as a member of the Sheriff’s

Office for the County of Rockingham and was acting under the color of state law due to the fact

that he was wearing his Sherriff’s Office uniform and displaying his badge of authority.



                                                    2
Case 5:18-cv-00101-EKD-JCH Document 27 Filed 06/20/19 Page 3 of 6 Pageid#: 58




       9.      On March 16, 2018, Plaintiff was present at a Juvenile and Domestic Relations

Court hearing in at the courthouse located at 53 Court Square in the City of Harrisonburg,

Virginia.

       10.     Upon leaving the hearing, Plaintiff was provided verbal commands from each

Defendant.

       11.     Apparently unhappy with Plaintiff’s response to each Defendant’s commands,

each Defendant placed his hands on Plaintiff and began to drag her to an underground tunnel in

the courthouse.

       12.     Each Defendant grabbed one of Plaintiff’s arms, lifted Plaintiff slightly off of the

ground so that she could not walk, and proceeded to drag her to a booking area of the

Rockingham Sheriff’s Office.

       13.     Plaintiff submitted to each Defendant’s show of official state authority when

Plaintiff was forced to go into the underground tunnel towards the Sheriff’s Office.

       14.     Upon seeing each Defendant, Plaintiff immediately believed him to be a law

enforcement officer due to the fact that each was dressed in some sort of official law

enforcement uniform and/or dress.

       15.     Each Defendant used so much force when taking Plaintiff into custody that

Plaintiff has long term and/or permanent nerve damage to her neck, spine and/or back area.

       16.     Each Defendant seized Plaintiff’s person for purposes of Fourth Amendment

analysis when he curtailed Plaintiff’s freedom of movement by detaining Plaintiff.

       17.     Plaintiff submitted to each Defendant’s show of official police authority when

each Defendant placed his hands on Plaintiff’s person.




                                                 3
Case 5:18-cv-00101-EKD-JCH Document 27 Filed 06/20/19 Page 4 of 6 Pageid#: 59




          18.    Each Defendant thus seized Plaintiff’s person for purposes of Fourth Amendment

analysis when he placed his hands on Plaintiff’s person.

          19.    Each Defendant, while in some sort of official police uniform and/or dress,

unlawfully assaulted and battered Plaintiff.

          20.    Each Defendant is subject to liability on account of the language in the following

Federal statute, “Every person who, under color of any statute, ordinance, regulation, custom, or

usage, of any State or Territory or the District of Columbia, subjects, or causes to be subjected,

any citizen of the United States or other person within the jurisdiction thereof to the deprivation

of any rights, privileges, or immunities secured by the Constitution and laws, shall be liable to

the party injured in an action at law, suit in equity, or other proper proceeding for redress.” 42

U.S.C. § 1983.

          21.    The Fourth Amendment to the United States Constitution provides in relevant part

that “the right of the people to be secure in their persons, houses, papers and effects, against

unreasonable searches and seizures, shall not be violated.” U.S. Const. amend. IV.

          22.    The Fourth Amendment was made applicable to the States by the Fourteenth

Amendment. Mapp v. Ohio, 367 U.S. 643 (1961).

          23.    The rights of citizens under the Fourth Amendment are clearly established.

          24.    Plaintiff was “seized” for purposes of Fourth Amendment analysis when her

freedom of movement was curtailed by each Defendant’s show of official police authority.

          25.    Because each Defendant used force that more than what was reasonably necessary

under the circumstances, each Defendant’s seizure of Plaintiff’s person was not reasonable, and

thus a violation of Plaintiff’s Fourth Amendment rights under the Constitution of the United

States.



                                                  4
Case 5:18-cv-00101-EKD-JCH Document 27 Filed 06/20/19 Page 5 of 6 Pageid#: 60




       26.      Each Defendant is subject to civil liability pursuant to 42 U.S.C. § 1983 because

each Defendant violated Plaintiff’s Fourth Amendment rights.

       27.      Plaintiff sustained the following damages as the proximate result of Defendant’s

unlawful conduct: physical pain, inconvenience, and medical bills (both present and future).

       28.      Neither Defendant, as a government official, is protected by the doctrine of

qualified immunity from liability for civil damages because the conduct of each Defendant

violated clearly established statutory or constitutional rights of which a reasonable officer would

have known.

       29.      Punitive damages are demanded because each Defendant was recklessly and/or

callously indifferent to the federally protected rights of Plaintiff – namely Plaintiff’s Fourth

Amendment right to be free from unreasonable seizures of her person and her right to be free

from excessive and/or unnecessary force.

                                     PRAYER FOR RELIEF

       WHEREFORE Plaintiff Olivia Letelier, by counsel, demands for:

       A. Judgment against Defendant Scott Hisey and Defendant Wayne Wilberger for

             damages in the sum of ONE MILLION DOLLARS ($1,000,000.00), of which SIX

             HUNDRED FIFTY THOUSAND DOLLARS ($650,000.00) represents

             compensatory damages and THREE HUNDRED FIFTY THOUSAND DOLLARS

             ($350,000.00) represents punitive damages;

       B. An order awarding Plaintiff’s costs, expenses, and Plaintiff’s reasonable attorney’s

             fees pursuant to 42 U.S.C. § 1988; and

       C. Trial by jury.

                                                              OLIVIA LETELIER



                                                  5
Case 5:18-cv-00101-EKD-JCH Document 27 Filed 06/20/19 Page 6 of 6 Pageid#: 61




                                                             By:__________/s/______________
                                                                        Of Counsel


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                                 CERTIFICATE OF SERVICE

 I hereby certify that on the 20th day of June, 2019, I will file this document with through the
   CM/ECF system which will send a copy of the same to the following attorney of record:

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                                                 6
